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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
PARKS, LLC.                                      :
                                                 :
                       Plaintiff,                :
                                                 :
               v.                                :
                                                 :   Civil Action No. 15-0946-JFL
                                                 :
TYSON FOODS, INC., and                           :
HILLSHIRE BRANDS COMPANY,                        :
                                                 :
                       Defendants.               :
                                                 :

         EXPEDITED MOTION OF DEFENDANTS TYSON FOODS, INC. AND
            HILLSHIRE BRANDS COMPANY TO COMPEL PLAINTIFF
             TO PROVIDE PROPER RESPONSES TO DEFENDANTS'
             FIRST RULE 33 AND RULE 34 DISCOVERY REQUESTS


       Pursuant to Rule 37(a)(3)(B) of the Federal Rules of Civil Procedure, and Local Rules 7.1

and 26.1, Defendants Tyson Foods, Inc. and Hillshire Brands Company ("Defendants") hereby

move this Court for an Order compelling Plaintiff Parks, LLC ("Parks") to fully respond to

Defendants' discovery requests served on May 22, 2015; specifically, Defendants' First Set of

Requests for Production of Documents and Defendants' First Set of Interrogatories. The

Plaintiff's current responses and answers are incomplete and deficient. Defendants also move for

an expedited briefing schedule in light of the impending discovery deadline of September 15,

2015. Rather than the proscribed period of 14 days under Local Rule 7.1(c), Defendants request

that any response brief be due within 7 days of filing, or by August 7, 2015.

       As required under Rule 26.1(f), Defendants hereby certify that the parties, after reasonable

effort, have been unable to resolve the dispute without resort to motions practice. Defendants'

discovery has been pending since May 22. After a meet and confer phone conference on July 20,
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Defendants initiated a telephonic hearing with the Court on July 28. The Court heard the parties

telephonically on July 28, and in light of the parties' representations in writing in advance and before

the Court on the telephone, directed Defendants to file the present Motion.



Dated: July 31, 2015                                 /s/
                                                     Mark H. Churchill (admitted pro hac vice)
                                                     John J. Dabney (admitted pro hac vice)
                                                     Mary D. Hallerman (admitted pro hac vice)
                                                     McDERMOTT WILL & EMERY LLP
                                                     500 North Capitol Street NW
                                                     Washington, DC 20001
                                                     Email: mchurchill@mwe.com;
                                                     jdabney@mwe.com; mhallerman@mwe.com
                                                     Telephone: 202-756-8000
                                                     Fax: 202-756-8087

                                                     Daniel T. Brier
                                                     MYERS, BRIER & KELLY
                                                     425 Spruce Street
                                                     Scranton, PA 18501-0551
                                                     Email: dbrier@mbklaw.com
                                                     Telephone: 570-342-6100

                                                     Attorneys for Defendants Tyson Foods, Inc.
                                                     and Hillshire Brands Company




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                                 CERTIFICATE OF SERVICE

         I, Mary D. Hallerman, hereby certify that a true and correct copy of the foregoing was

served upon the following counsel of record via the Court’s ECF system on this 31st day of July,

2015:

         James C. McConnon
         Alex R. Sluzas
         Paul & Paul
         Three Logan Square
         1717 Arch Street
         Suite 3740
         Philadelphia, PA 19103
         Email: j.mcconnon@paulandpaul.com; ars@paulandpaul.com

                                                      /s/Mary D. Hallerman
                                                      Mary D. Hallerman (admitted pro hac vice)
                                                      McDERMOTT WILL & EMERY LLP
                                                      500 North Capitol Street NW
                                                      Washington, DC 20001
                                                      Email: mhallerman@mwe.com
                                                      Telephone: 202-756-8738
DM_US 62839589-1.035969.0205




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